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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re: : Chapter 7
BAYARD SALES CORPORATION, : Case No. 12-16339 (ELF)
Debtor. : Hearing Date: 5/8/13 at 10:00 a.m.

Objection Deadline: 4/24/13

CHAPTER 7 TRUSTEE’S FIRST OMNIBUS OBJECTION TO CLAIMS
PURSUANT TO 11 U.S.C. § 502(b), FED. R. BANK. P. 3007 AND
LOCAL BANKRUPTCY RULE 3007-1

Lynn E. Feldman, Chapter 7 Trustee for the bankruptcy estate of Bayard Sales
Corporation (the “Trustee”), by and through her undersigned counsel, hereby files this First
Omnibus Objection to Claims Pursuant to 11 U.S.C. §§ 502(b) and 502(d), Fed. R. Bank. P.
3007 and Local Bankruptcy Rule 3007-1 (the “Objection’”) pursuant to which the Trustee
requests that the Court enter an Order (i) disallowing and/or expunging the claims asserted by
the Claimants listed on the Exhibit hereto (and for the reasons set forth herein); and (ii)
granting related relief. In support of this Objection, the Trustee respectfully represents as
follows:

Jurisdiction and Venue

1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157
and 1334.
2. This is a core proceeding pursuant to 28 U.S.C. § 157(b).
3. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.
| 4: The statutory predicates for the relief requested herein are sections 105(a) and

502(b) of title 11 of the United States Code (the “Bankruptcy Code”), Rules 3007 and 9014 of

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the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rule 3007-1

of the Local Rules of Practice and Procedure for the United States Bankruptcy Court for the
Eastern District of Pennsylvania (the “Local Rules”).
Background
5. On July 2, 2012 (the “Petition Date”), Bayard filed a voluntary petition seeking
relief under chapter 7 of the Bankruptcy Code with the United States Bankruptcy Court for the
Eastern District of Pennsylvania (the “Court”).

6. On July 3, 2012 (the “Appointment Date”), the Chapter 7 Trustee was appointed

as Chapter 7 Trustee for Bayard and its estate.

7. Subsequent to the Appointment Date, the Debtor filed its Schedules wherein it
listed its creditors and the amounts due and owing such creditors, including some claims that
are the subject of this Objection.

8. In addition to the filing of the Schedules, the Trustee, on October 11, 2012, filed
and served a Notice of Need to File Proof of Claim Due to Recovery of Assets, setting January
-13, 2013 as the last day for the filing of proofs of claim in the Bankruptcy Case (the “Bar
Date”).

9, Prior to the Bar Date, approximately sixty-three proofs of claim were filed
against the Debtor and its estate, including some proofs of claim that are the subject of this
Objection.

10. Subsequent to the Petition Date, in the pursuit of her fiduciary duties to the
Estate, the Trustee made written demand pursuant to Bankruptcy Code § 542 against certain

third parties who owed money to the Debtor and its Estate.

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11. Despite the Trustee’s demands for repayment, many of these third parties, some
of which are creditors of this estate, have failed and refused to satisfy their outstanding
obligations due and owing the Debtor’s estate.

Relief Requested

12. By this Objection, the Trustee seeks entry of an Order pursuant to Sections
502(b) and 502(d) of the Bankruptcy Code, Rules 3001 and 3007 of the Bankruptcy Rules and
Rule 3007-1 of the Local Rules to disallow and/or expunge the claims identified on the Exhibit

to this Objection (the “Disputed Claims”).

A. Claims To Be Disallowed Pursuant To 11 U.S.C. § 502(d)
13. Section 502(d) provides that:

the court shall disallow any claim of any entity from which
property is recoverable under section 542, 543, 550, or 553 of
this title or that is a transferee of a transfer avoidable under
section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of this
title, unless such entity or transferee has paid the amount, or
turned over any such property, for which such entity or transferee
is liable under section 522(i), 542, 543, 550 or 553 of this title.

11 U.S.C. § 502(d).
14, The Trustee has reviewed the Debtor’s Books and Records and has determined
that each of the holders of the Disputed Claims set forth on Exhibit “A” (collectively, the

“502(d) Claimholders”) hold property recoverable pursuant to § 542 of the Bankruptcy Code.

15. As the 502(d) Claimholders currently hold property of the Debtor’s estate and
have failed and refused to turnover such property to the Trustee (despite her prior demands),
the Trustee objects to the claims of these claimants pursuant to Bankruptcy Code § 502(d) to
prohibit distributions to these 502(d) Claimholders.

16. The Trustee seeks such relief as any distributions to the 502(d) Claimholders
would be inequitable and contrary to the Bankruptcy Code and applicable law. See Jn re

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Oxford Royal Mushroom Prods., Inc., 59 B.R. 926, 927 (Bankr. E.D. Pa. 1986) (“Under §
502(d) the bankruptcy court may disallow a claim if the claimant has failed to pay money it
owes the estate or turn over property of the estate. This provision is based on the policy that a
creditor who fails to turn over to estate any money or property it owes to the estate, will not be
entitled to share in the proceeds of the estate.”),

17. The Trustee objects to each of the 502(d) Claims and requests the entry of an
order disallowing and/or expunging each the 502(d) Claims.

Basis for Relief

16. Section 502(b) of the Bankruptcy Code provides, in relevant part:
the court, after notice and a hearing, shall determine the amount
of [a] claim in lawful currency of the United States as of the date
of the filing of the petition, and shall allow such claim in such
amount, except to the extent that...
such claim is unenforceable against the debtor and property of
the debtor, under any agreement or applicable law for a reason
other than because such claim is contingent or unmatured .. .
11 U.S.C. § 502(b)(1).
17, Pursuant to § 502(b)(1) of the Bankruptcy Code, Bankruptcy Rule 3007, and
Local Rule 3007-1, the Court should disallow and/or expunge the Disputed Claims set forth on
Exhibit A hereto as specifically set forth herein.
C. Separate Contested Matters
18. To the extent that a response is filed regarding any Disputed Claim listed in this
Objection and the Trustee and claimant are unable to resolve the response, each Disputed

Claim and the response to such Disputed Claim shall constitute a separate contested matter as

contemplated by Bankruptcy Rule 9014. In addition, any order entered by the Court regarding

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any objection asserted in this Objection shall be deemed a separate order with respect to each
Claim.

19, To contest a claim objection contained in this Objection, a claimant or a
claimant’s lawyer must attend the hearing on the Objection, which hearing is scheduled to be
held on May 8, 2013 at 10:00 a.m. (prevailing Eastern Time) before the Honorable Eric L.
Frank in Courtroom 1, United States Bankruptcy Court, 900 Market Street, Philadelphia, PA

19107.

Adjournment of Hearing

25. The Trustee reserves the right to seek an adjournment of the Hearing on any
Response to the Objection with respect to one or more Disputed Claims that are the subject of
this Objection.

Reservation of Rights

26. The Trustee expressly reserves the right to amend, modify or supplement this
Objection and to file additional objections to any other claims (filed or not) that have been or
may be asserted against the Debtor’s estate. Should one or more of the grounds of objection
stated in this Objection be overruled, the Trustee reserves its rights to assert any other grounds
for objection that bankruptcy and/or non-bankruptcy law may permit.

Notice

27. The Trustee has provided notice of this Objection to: (a) each of the claimants
and/or their counsel; (b) the Office of the United States Trustee; and (c) all those parties that
have requested notice pursuant to Rule 2002 of the Bankruptcy Rules. In light of the nature of
the relief requested, the Trustee submits that no further notice is required or needed under the

circumstances.

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No Prior Application

28. No prior application for the relief requested herein has been made to this Court
or any other court.

WHEREFORE, the Trustee respectfully requests that this Court enter an Order,
substantially in the form annexed hereto as Exhibit “B”, and grant such other and further relief
as this Court deems just and appropriate.

Dated: March 27, 2013 Respectfully submitted,
DUANE MORRIS LLP
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